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  IT IS ORDERED as set forth below:



  Date: August 19, 2020
                                                       _________________________________

                                                                Barbara Ellis-Monro
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:

LA Property Investments LLC,                             CASE NO. 20-66891-BEM

         Debtor.                                         CHAPTER 11

CalCon Mutual Mortgage, LLC,

         Movant,

v.                                                       Contested Matter
LA Property Investments LLC,

         Respondent.

                                        ORDER

              This matter comes before the Court on Movant’s Motion for Relief from

Automatic Stay Retroactively to June 2, 2020 or in the Alternative Motion to Dismiss Case Ab

Initio (the “Motion”) [Doc. 12]. A hearing was held on the Motion on August 18, 2020. Debtor

appeared at the hearing through its counsel, Sims Gordon. Movant appeared at the hearing
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through its counsel, Anjali Khosla and Bret Chaness. Movant’s exhibits A through M were

admitted into evidence. Testimony was heard from Debtor’s principal, Lemarcus Allison. An

oral ruling was announced at the end of the hearing. For the reasons announced on the record at

the hearing and in accordance with the oral ruling there issued, it is hereby

               ORDERED that the Motion [Doc. 12] is GRANTED as follows:

               The automatic stay is ANNULLED retroactively to June 2, 2020 and MODIFIED

so as to permit the Movant to exercise its rights and conclude the foreclose sale under the terms

of its Note and Security Deed; it is further

               ORDERED that this Order is effective retroactively to June 2, 2020, and remains

effective despite any conversion of this bankruptcy case to a case under any other chapter of

Title 11 of the United States Code; it is further

               ORDERED that the 14-day stay described by Bankruptcy Rule 4001(a)(3) is

WAIVED.

                                         END OF ORDER




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